       Case 2:08-cr-00082-WFN            ECF No. 149         filed 06/17/16     PageID.484 Page 1 of 2
PROB 12C                                                                                 Report Date: June 17, 2016
(7/93)

                                        United States District Court                                   FILED IN THE
                                                                                                   U.S. DISTRICT COURT
                                                                                             EASTERN DISTRICT OF WASHINGTON
                                                       for the
                                                                                              Jun 17, 2016
                                        Eastern District of Washington                            SEAN F. MCAVOY, CLERK


                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Brian Donald Lorentzen                    Case Number: 0980 2:08CR00082-WFN-1
 Address of Offender:                          Spokane, Washington 99207
 Name of Sentencing Judicial Officer: The Honorable Wm. Fremming Nielsen, Senior U.S. District Judge
 Date of Original Sentence: December 9, 2008
 Original Offense:        Knowingly and Intentionally Possess with the Intent to Distribute 100 Grams or More
                          of a Mixture or Substance Containing a Detectable Amount of Heroin, a Schedule I
                          Controlled Substance, 21 U.S.C. § 841(a)(1), (b)(1)(B)(I) and 18 U.S.C. 2
 Original Sentence:       Prison 92 months;                  Type of Supervision: Supervised Release
                          TSR - 48 months
 Asst. U.S. Attorney:     Alison L. Gregoire                Date Supervision Commenced: May 4, 2015
 Defense Attorney:        Roger Peven                       Date Supervision Expires: May 3, 2019


                                         PETITIONING THE COURT

                To issue a warrant.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

           1            Standard Condition # 3: The defendant shall answer truthfully all inquiries by the
                        probation officer and follow the instructions of the probation officer.

                        Supporting Evidence: Brian Lorentzen was directed to attend the Eastern District of
                        Washington Sobriety Treatment and Education Program (STEP) on June 16, 2016. He failed
                        to attend as scheduled.
           2            Special Condition # 15: You shall undergo a substance abuse evaluation and, if indicated,
                        enter into and successfully complete an approved substance abuse treatment program,
                        including aftercare. You shall contribute to the cost of treatment according to your ability.
                        You shall allow full reciprocal disclosure between the supervising probation officer and
                        treatment provider.

                        Supporting Evidence: Brian Lorentzen failed to attend scheduled treatment sessions at
                        ADEPT on June 7 and 14, 2016.
     Case 2:08-cr-00082-WFN            ECF No. 149        filed 06/17/16      PageID.485 Page 2 of 2
Prob12C
Re: Lorentzen, Brian Donald
June 16, 2016
Page 2

          3           Special Condition # 16: You shall complete a mental health evaluation and follow any
                      treatment recommendations, including taking prescribed medications, as recommended by
                      the treatment provider. You shall allow reciprocal release of information between the
                      supervising probation officer and treatment provider. You shall contribute to the cost of
                      treatment according to your ability.

                      Supporting Evidence: Brian Lorentzen failed to attend and/or schedule any mental health
                      counseling sessions with Robert Shepard for the month of May 2016.
          4           Special Condition # 17: You shall abstain from the use of illegal controlled substances, and
                      shall submit to urinalysis testing, as directed by the supervising probation officer, but no
                      more than six tests per month, in order to confirm continued abstinence from these
                      substances.

                      Supporting Evidence: Brian Lorentzen failed to report for urinalysis testing as scheduled
                      on June 7 and 13, 2016.

The U.S. Probation Office respectfully recommends the Court issue a warrant for the arrest of the offender to
answer the allegations contained in this petition.



                                         I declare under penalty of perjury that the foregoing is true and correct.
                                                           Executed on:     06/17/2016
                                                                            s/Richard Law
                                                                            Richard Law
                                                                            U.S. Probation Officer



 THE COURT ORDERS
 [ ] No Action
 [X ] The Issuance of a Warrant
 [ ] The Issuance of a Summons
 [ ] Other

                                                                            Signature of Judicial Officer
                                                                                     6/17/2016
                                                                            Date
